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                          IN THE UNITED STATES BANKRUPTCY COURT
                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


   IN RE:                                       : Bankruptcy No. 16-24825-JAD
                                                :
   JOHN W. SORENSEN                             : Chapter 7
   CAMBRIA L. SORENSEN                          :
                     Debtor                     :
                                                :
      Natalie Lutz Cardiello, Trustee           :
                                                :
              Movant                            :
                                                :
         v.                                     :
                                                :
      United States of America, Internal        :
      Revenue Service; Commonwealth of          :
      Pennsylvania, Department of Revenue;      :
      County of Allegheny; Jordan Tax           :
      Service; Ross Township; North Hills       :
      School District; Keystone Collections
      Group; U.S. Bank, National
                                                :
      Association as Trustee for Residential    :
      Asset Securities Corporation, Home        :
      Equity Mortgage Asset-Backed Pass-        :
      Through Certificates Series 2006-         :
      EMX7; MERS, Inc. as nominee for           :
      Mortgage Lenders Network USA, Inc.;       :
      and Pennsylvania Housing Finance          :
      Agency                                    :
                                                :
              Respondents                       :



                                         REPORT OF SALE

              An auction sale was conducted on February 6, 2018 in connection with the sale of 622
   Bascom Ave., Pittsburgh, PA 15212 to M. Kent Moorhead, II and Sharon A. Moorhead.
   The sale price was $170,000
            Closing was held on February 21, 2018. A copy of the ALTA Settlement Statement is
   attached hereto as Exhibit “A”.
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          The net settlement proceeds to the estate will be held by the Trustee pending further
   Order of Court.

                                                Respectfully submitted,


                                                /s/ Natalie Lutz Cardiello________
                                                Natalie Lutz Cardiello, Trustee
                                                107 Huron Drive
                                                Carnegie, PA 15106
                                                ncardiello@comcast.net
                                                (412) 276-4043



   Dated: February 22, 2018
